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                      This document first began as an effort to help teams within Google,
                      but we thought it'd be just as useful to webmasters that are new to
                      the topic of search engine optimization and wish to improve their
                      sites' interaction with both users and search engines. Although this
                      guide won't tell you any secrets that'll automatically rank your site
                      first for queries in Google (sorry!), following the best practices
                      outlined below will make it easier for search engines to crawl, index
                      and understand your content.


                      Search engine optimization is often about making small modifications
                      to parts of your website. When viewed individually, these changes
                      might seem like incremental improvements, but when combined with
                      other optimizations, they could have a noticeable impact on your
                      site's user experience and performance in organic search results.
                      You're likely already familiar with many of the topics in this guide,
                      because they're essential ingredients for any web page, but you may
                      not be making the most out of them.


                      Even though this guide's title contains the words "search engine",
                      we'd like to say that you should base your optimization decisions first
                      and foremost on what's best for the visitors of your site. They're the
                      main consumers of your content and are using search engines to find
                      your work. Focusing too hard on specific tweaks to gain ranking in the
                      organic results of search engines may not deliver the desired results.
                      Search engine optimization is about putting your site's best foot
                      forward when it comes to visibility     in search engines, but your
                      ultimate consumers are your users, not search engines.


                      Your site may be smaller or larger than our example site and offer
                      vastly different content, but the optimization topics we discuss below
                      should apply to sites of all sizes and types. We hope our guide gives
                      you some fresh ideas on how to improve your website, and we'd love
                      to hear your questions, feedback, and success stories in the Google
                      Webmaster Help Forum.




2


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                        Crawlingcontent
                        on the Internet for
                        Google'sindex
                        everyday,every
                        night, non stop.              Make use of free webmaster tools


                        An example may help our explanations, so we've created a fictitious
                        website to follow throughout the guide. For each topic, we've fleshed
                        out enough information about the site to illustrate the point being
                        covered. Here's some background information about the site we'll
                        use:


                           Website/businessname:"Brandon's Baseball Cards"
                           Domainname:brandonsbaseballcards.com
                           Focus: Online-only baseball card sales, price guides, articles,
                                  and news content
                           Size: Small, -250 pages


                        Search engine optimization affects only organic search results, not
                        paid or "sponsored" results such as Google AdWords.




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                                                                                <html>
                                                                                <head>


                                                                                ,meta name•"description•"        content•'Brandon's    Baseball Cards provides a
                           The <title> tag should be placed within the          large selection of vintage and modern baseball cards for sale. We also offer
  <head>tag of the HTML document (1). Ideally, you should create a              daily baseball news and events in">
  unique title for each page on your site.                                      </head>
                                                                                <body>

                                                                              (1) The title of the homepage for our baseball card site, which lists the business
                                                                              name and three main focus areas,




  you're unfamiliar with the different parts of a Google search result,
                                                                                                 baseba!Jcards
  you might want to check out
  Google engineer Matt Cutts, and this helpful
                        Words in the title are bolded if they appear in the




  The title for your homepage can list the name of your website/              (2) A user performs the query [baseball cards]. Our homepage shows up as a result,
                                                                              with the title listed on the first line (notice that the query terms the user searched
  business and could include other bits of important information like
                                                                              for appear in bold).
  the physical location of the business or maybe a few of its main
  focuses or offerings (3).


                                                                              If the user clicks the result and visits the page, the page's title will appear at the top
                                                                              of the browser.




                                                                                                rarest baseballcard




                                                                              (3) A user performs the query [rarest baseball cards]. A relevant, deeper page (its
                                                                              title is unique to the content of the page) on our site appears as a result.




  Ml•MAMIW
    Searchengine                                                              HTML


    <head>tag




                                                                                                                                                    GOOG _EVTS _00000004
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                                                                                <html>
                                                                                <head>
                                                                                <title>Brandon's Baseball Cards - Buy Cards, Baseball News, Card Prices,ftitle>



  page's title may be a few words or a phrase, a page's description meta
  tag might be a sentence or two or a short paragraph. Google                   </head>
  Webmaster Tools provides a handy                             that'll tell     <body>
  you about any description meta tags that are either too short, long, or     (1) The beginning of the description meta tag !or our homepage, which gives a brief
  duplicated too many times (the same information is also shown for           overview of the site's offerings.
  <title> tags). Like the <title> tag, the description meta tag is placed
  within the <head>tag of your HTML document.




                                                                                                baseba!Jcards
  Description meta tags are important because
                                      Note that we say "might" because
  Google may choose to use a relevant section of your page's visible
  text if it does a good job of matching      up with a user's query.
  Alternatively, Google might use your site's description in the Open
  Directory Project if your site is listed there (learn how to
                                                                              (2) A user performs the query [baseball cards]. Our homepage appears as a result,
                                             Adding description meta          with part of its description meta tag used as the snippet.
  tags to each of your pages is always a good practice in case Google
  cannot find a good selection of text to use in the snippet. The
  Webmaster Central Blog has an informative         post on



  Words in the snippet are balded when they appear in the user's query                          rarest baseballcard

  (2). This gives the user clues about whether the content on the page
  matches with what he or she is looking for. (3) is another example,
  this time showing a snippet from a description meta tag on a deeper
  page (which ideally has its own unique description          meta tag)
  containing an article.
                                                                              (3) A user performs the query [rarest baseball cards]. One of our deeper pages, with
                                                                              its unique description meta tag used as the snippet, appears as a result.




  Ml•MAMIW
    Snippet                                                                   Domain




    OpenDirectoryProject(ODP)
    The




                                                                                                                                                GOOG _EVTS _00000006
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                      I                             t               r


                                                                                (1) A URL to a page on our baseball card site that a user might have a hard time
                                                                                with.

  Creating descriptive categories and filenames for the documents on
  your website can not only help you keep your site better organized,
  but


  that want to link to your content. Visitors may be intimidated by
  extremely long and cryptic URLs that contain few recognizable words.          (2) The highlighted words above could inform a user or search engine what the
                                                                                target page is about before following the link.

  URLs like (1) can be confusing and unfriendly. Users would have a
  hard time reciting the URL from memory or creating a link to it. Also,
  users may believe that a portion of the URL is unnecessary, especially
  if the URL shows many unrecognizable parameters. They might leave
  off a part, breaking the link.


  Some users might link to your page using the URL of that page as the




                                                                                                 baseball cards


             Like the title and snippet, words in the URL on the search
  result appear in bold if they appear in the user's query (3). To the right
  is another example showing a URL on our domain for a page
  containing an article about the rarest baseball cards. The words in the
  URL might appeal to a search user more than an ID number like "www.
  brandonsbaseballcards.com/article/102125/" would.                             (3) A user performs the query [baseball cards]. Our homepage appears as a result,
                                                                                with the URL listed under the title and snippet.

  Google is good at crawling all types of URL structures, even if they're
  quite complex, but spending the time to make your URLs as simple as
  possible    for both users and search engines can help. Some
  webmasters try to achieve this by rewriting their                       to
  static ones; while Google is fine with this, we'd like to note that this is
  an advanced procedure and if done incorrectly, could cause crawling
  issues with your site. To learn even more about good URL structure,
  we recommend this Webmaster Help Center page on




  Ml•MAMIW
   Crawl                                                                        301 redirect
                                                        (bots)                                                             site

    Parameter                                                                   Subdomain
                                        behavior.                                                                                                          (see
    ID (session ID)
                                                                                Root directory




                                                                                                                                               GOOG _EVTS _00000008
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                                                                  "
                                                       r          I                          r


                                                                                                       (root)


                                                                                                                   about


                                                                                                                   articles
   understand      what content the webmaster        thinks is important.
   Although Google's search results are provided at a page level, Google                                           news
   also likes to have a sense of what role a page plays in the bigger
   picture of the site.
                                                                                                                              2008


                                                                                                                              2009


                                                                                                                              2010

   All sites have a home or "root" page, which is usually the most
   frequented page on the site and the starting place of navigation for
                                                                                                                  1900-1949


                                                                                                                  1950-1999
   you have enough pages around a specific topic area that it would
   make sense to create a page describing these related pages (e.g. root
                                                                                                                  2000-present
   page -> related topic listing -> specific topic)? Do you have hundreds
   of different products that need to be classified         under multiple                                                           The directory structure
                                                                                                       shop                          for our small website on
   category and subcategory pages?                                                                                                   baseball cards.




                                                                                (1) Breadcrumb links appearing on a deeper article page on our site.

   A breadcrumb is a row of internal links at the top or bottom of the
   page that


   general page (usually the root page) as the first, left-most link and list
   the more specific sections out to the right.




   Ml•MAMIW
     404 ("page not found" error)                                               XMLSitemap
                                                          could




                                                                                                                                                  GOOG_EVTS_00000010
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                                                                               (2) Users may go to an upper directory by removing the last part of the URL.


   Consider what happens when a user removes part of your URL -
   Some users might navigate your site in odd ways, and you should




   www.brandonsbaseballcards.com/news/2010/upcoming-baseball-
   card-shows.htm, but
   then enter http://www.brandonsbaseballcards.com/news/2010/ into
   the browser's address bar, believing that this will show all news from
   2010 (2). Is your site prepared to show content in this situation or will
   it give the user a 404 ("page not found" error)? What about moving up
   a directory level to http://www.brandonsbaseballcards.com/news/?




   A site map (lower-case) is a simple page on your site that displays the
   structure of your website, and usually consists of a hierarchical listing
   of the pages on your site.                                                    <?xmlversion="1.0"encoding="UTF-8"?:.
                                                     While search engines        ,urlset xmlns•"http://www.sitemaps.org/schemas/sitemap/0.9",
   will also visit this page, getting good crawl coverage of the pages on         <url>

   your site, it's mainly aimed at human visitors.                                  <loc>http://www.brandonsbaseballcards.com/</loc>
                                                                                    ,changefreq>daily,/changefreq,
                                                                                    ,priority,Q.S,/priority,
   An XML Sitemap (upper-case) file, which you can submit through
                                                                                  </url>
   Google's v11e1m1R•irn
                                                                                  <url:.
                                                                                    ,1oc>http://www.brandonsbaseballcards.com/news/</loc,
   not guaranteed) to tell Google which version of a URL you'd prefer as          </url>
   the canonical one (e.g. http://brandonsbaseballcards.com/      or http://      <Uri>
   www.brandonsbaseballcards.com/;          more on                                 ,1oc>http://www.brandonsbaseballcards.com/news/200S/,/loc>
             Google helped create the open source                                 </url>
          to help you create a Sitemap file for your site. To learn more          <Uri>
   about Sitemaps, the Webmaster Help Center provides a useful                      ,1oc>http://www.brandonsbaseballcards.com/news/2009/</loc>
                                                                                  ,furl,
                                                                                  <url>
                                                                                    ,1oc>http://www.brandonsbaseballcards.com/news/2010/</loc>
                                                                                  </url>
                                                                                 </urlset>

                                                                               Examples of an HTML site map and an XML Sitemap. An HTML site map can help
                                                                               users easily find content that they are looking for, and an XML Sitemap can help
                                                                               search engines find pages on your site.




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        ___
    Flash
         l
    Web


                                          HTTPstatus code




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                                   r                Ii                                 t



                                                                              (1) A blogger finds a piece of your content, likes it, and then references it in a blog
   (1). Users know good content when they see it and will likely want to
                                                                              post.
   direct other users to it. This could be through blog posts, social media
   services, email, forums, or other means.
   Organic or word-of-mouth buzz is what helps build your site's
   reputation with both users and Google, and it rarely comes without
   quality content.




   Think about the words that a user might search for to find a piece of
   your content. Users who know a lot about the topic might use
   different keywords in their search queries than someone who is new
   to the topic. For example, a long-time baseball fan might search for
   [nlcs], an acronym for the National League Championship Series,
   while a new fan might use a more general query like [baseball
   playoffs]. Arnc1c11Ja1mg




   keyword variations and see the approximate search volume for each
   keyword (2). Also, Google Webmaster Tools provides you with the
                      your site appears for and the ones that led the most
   users to your site.




                                                                              (2) The Google AdWords Keyword Tool can help you find relevant keywords on your
   lack the resources or expertise to do these things.                        site and the volume of those keywords.




   Ml•MAMIW
     Social media service                                                     GoogleAdWords




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                                                                                r                             r


                                                                                        <a href 0 "http://www.brandonsbaseballcards.com/articles/ten-rarest-baseball-
                                                                                        cards.htm">Wi\/&11111!                 &/a>
                                                                                      This anchor text accurately describes the content on one of our article pages.

   Anchor text is the clickable text that users will see as a result of a link,
   and is placed within the anchor tag <a href="..."></a>.




   other pages on your site-or      external-leading      to content on other
   sites. In either of these cases, the better your anchor text is, the easier
   it is for users to navigate and for Google to understand what the page
   you're linking to is about.




                                           With appropriate anchor text, users and search engines can easily understand what
                                           the linked pages contain.



   Ml•MAMIW
     css                                                                              Textstyle




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   Images may seem like a straightforward component of your site, but
   you can optimize your use of them. All images can have a distinct
   filename and "alt" attribute, both of which you should take




   Why use this attribute? If a user is viewing your site on a browser that
   doesn't support images, or is using alternative technologies, such as
   a screen reader,



   Another reason is that if you're using an image as a link, the alt text
                                                                                   (1) Our image wasn't displayed to the user for some reason, but at least the alt text
   for that image will be treated similarly to the anchor text of a text link.     was.
   However, we don't recommend using too many images for links in
   your site's navigation when text links could serve the same purpose.
   Lastly, optimizing your image filenames and alt text makes it easier
   for image search projects like                                  to better
   understand your images.




   Instead of having image files spread out in numerous directories and
   subdirectories across your domain, '"""%:"H''"conso,li!:llating
                         n,wo'",nwu (e.g. brandonsbaseballcards.com/
   images/). This simplifies the path to your images.


   Use commonly supported filetypes - Most browsers support                                                                           (2) It is easier to find
                                                                                                                                      the paths to images if
              and        image formats. It's also a good idea to have the                                                    2006     they are stored in one
   extension of your filename match with the filetype.                                                                                directory.




   Ml•MAMIW
     Screenreader                                                                  ASCIIlanguage
                                                       to




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                                                                                                                  "
                                                                                                                                  I



   Heading tags (not to be confused with the <head, HTML tag or HTTP
   headers) are used to present structure on the page to users. There are
                                                                             ..,
                                                                              </head>
                                                                              <body,


                                                                             ,,                  a
                                                                                             1#01ii
                                                                                                         -- -           ,,_ ••
                                                                              <p>A man who recently purchased a farm house was pleasantly surprised ,.
                                                                              dollars worth of vintage baseball cards in the barn. The cards were ... in news
   six sizes of heading tags, beginning with <h1>,the most important, and
                                                                              papers and were thought to be in near-mint condition. After ... the cards to his
   ending with <h6>,the least important (1).                                  grandson instead of selling thern.,fp,


   Since heading tags typically make text contained in them larger than     (1) On a page containing a news story, we might put the name of our site into an <h1,
                                                                            tag and the topic of the story into an <h2>tag.
   normal text on the page,



   sizes used in order create a hierarchical structure for your content,
   making it easier for users to navigate through your document.




                                                                            Wlldcard
                                                                            A
                                                                            .htaccess
     <em>
                                                                            Referrerlog
                                                                                                                             log. When                     find
     <strong>
                                                              will




                                                                                                                                              GOOG _EVTS _00000020
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                                                                                  User-agent:*
                                                                                  Disallow: /images/
                                                                                  Disallow: /search

                                                                                (1) All compliant search engine bots (denoted by the wildoard • symbol) shouldn't
                                                                                access and crawl the content under /images/ or any URLwhose path begins with /
   named "robots.txt", is placed in the root directory of your site (2).
                                                                                search.


   You may not want certain pages of your site crawled because they
   might not be useful to users if found in a search engine's search
                                                                                (2) The address of our robots.Ix! file.
   results. If you do want to prevent search engines from crawling your
   pages, Google Webmaster Tools has a friendly                            to
   help you create this file. Note that if your site uses subdomains and
   you wish to have certain        pages not crawled       on a particular
   subdomain, you'll have to create a separate robots.txt file for that
   subdomain. For more information on robots.txt, we suggest this
   Webmaster Help Center guide on


   There are a handful of other ways to prevent content appearing in
   search results, such as adding "NOINDEX" to your robots meta tag,
   using .htaccess to password protect directories, and using Google
   Webmaster Tools to remove content that has already been crawled.
   Google engineer Matt Cutts walks through the
                      in a helpful video.




     Robots Exclusion Standard
     A

     Proxy service
     A




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                                                                                  ,a href 0 "http://www.shadyseo.com"1ll1fflffll5Comment            spammer</a>

                                                                                (1) If you or your site's users link to a site that you don't trust and/or you don't want
                                                                                to pass your site's reputation, use nofollow.




   Nofollowing a link is adding rel="nofollow" inside of the link's anchor
   tag (1).


   When would this be useful? If your site has a blog with public
   commenting turned on, links within those comments could pass your
   reputation to pages that you may not be comfortable vouching for.
   Blog comment areas on pages are highly susceptible to comment                (2) A comment spammer leaves a message on one of our biogs posts, hoping to
                                                                                get some of our site's reputation.
   spam (2). Nofollowing these user-added links ensures that you're not
   giving your page's hard-earned reputation to a spammy site.




   Many blogging software packages automatically             nofollow user
   comments, but those that don't can most likely be manually edited to
   do this. This advice also goes for other areas of your site that may
   involve user-generated content, such as guestbooks, forums, shout-
   boards, referrer listings, etc. If you're willing to vouch for links added
                                                                                                Word verification
   by third parties (e.g. if a commenter is trusted on your site), then




   moderation (3).
                                                                                (3) An example of a CAPTCHA used on Google's blog service, Blogger. It can
                                                                                present a challenge to try to ensure an actual person is leaving the comment.




   Ml•MAMIW
     Comment spamming                                                           CAPTCHA




                                                                                                                                                     GOOG _EVTS _00000022
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                                                                                   <html>
                                                                                   <head>
                                                                                   <title>Brandon's Baseball Cards - Buy Cards, Baseball News, Card Prices</title>
                                                                                   <meta name 0 "description°"    content 0 "Brandon's Baseball Cards provides a
                                                                                   large selection of vintage and modern baseball cards for sale. We also offer
                                                                                   daily baseball news and events in">


   topic of comment spamming and you want to call out a site that                  </head>
   recently comment spammed your blog. You want to warn others of                  <body>
   the site, so you include the link to it in your content; however, you         (4) This nofollows all of the links on a page.
   certainly don't want to give the site some of your reputation from your
   link. This would be a good time to use nofollow.


   Lastly, if you're interested in nofollowing all of the links on a page, you
   can use "nofollow" in your robots meta tag, which is placed inside the
   <head> tag of that page's HTML (4). The Webmaster Central Blog
   provides a helpful post on                                This method is
   written as <meta name="robots" content="nofollow">,




   NII@



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                                                                                                     ii



   It seems the world is going mobile, with many people using mobile
   phones on a daily basis, and a large user base searching on
                          However, as a webmaster, running a mobile site
   and tapping into the mobile search audience isn't easy.




   mobile sites were designed with mobile viewing in mind, they weren't
   designed to be search friendly.

   Here are troubleshooting tips to help ensure that your site is properly                             (1) Example of a search for [baseball cards] on Google's
   crawled and indexed:                                                       e-·-·--,·--·-·--·-···-desktop search (above) and mobile search (left). Mobile
                                                                                                       search results are built for mobile devices and are
                                                                                                       different from "standard" desktop results.




   If your web site doesn't show up in the results of a Google mobile
   search even using the                   it may be that your site has one
   or both of the following issues:


   1. Googlebot may not be able to find your site
   Googlebot must crawl your site before it can be included in our search
   index.                                                                If
   that's the case, create a
   inform us of the site's existence. A Mobile Sitemap can be
                               Tools,just like a standard Sitemap.




   Ml•MAMIW
     Mobile Sitemap                                                           XHTMLMobile


                                                                              Compact HTML
     User-agent




                                                                                                                                             GOOG _EVTS _00000024
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   2. Googlebot may not be able to access your site
   Some mobile sites refuse access to anything but mobile phones,           ~i\1lffllliffl\tl•~fflfflillt1fflfflMIM@U&i
                                                                             SetEnvlf User-Agent "Android" allow_ua
   making it impossible for Googlebot to access the site, and therefore
                                                                             SetEnvlf User-Agent "BlackBerry" allow_ua
                                                                             SetEnvlf User-Agent "iPhone" allow_ua
                                                                             SetEnvlf User-Agent "Netfront" allow_ua
                                                                             SetEnvlf User-Agent "Symbian OS" allow_ua
                                                                             SetEnvlf User-Agent "Windows Phone" allow_ua
   agent information at any time without notice, so we don't recommend       Order deny.allow
   checking whether the User-agent exactly matches "Googlebot-               deny from all
   Mobile" (the current User-agent). Instead, check whether the User-        allow from env=allow_ua

   agent header contains the string "Googlebot-Mobile". You can also
                                                                           (2) An example of a mobile site restricting any access from non-mobile devices.
                                                                           Please remember to allow access from user agents including "Googlebot-Mobile".




                                                                             <head>
   Once Googlebot-Mobile crawls your URLs, we then check for whether         ,meta   http-equiv=     "Content-Type"    content="   a pplication/xhtm   l•xm I;
                                                                             charset=Shift_JIS" j,

                                                                           (3) An example of DTD for mobile devices.

   index). This determination is based on a variety of factors, one of
   which is the "DTD (Doc Type Definition)" declaration. Check that your
   mobile-friendly URLs' DTD declaration is in an appropriate mobile
   format such as XHTML Mobile or Compact HTML (3). If it's in a
   compatible format, the page is eligible for the mobile search index.
   For more information, see the




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   are two viable options:




   When a mobile user or crawler (like Googlebot-Mobile) accesses the
   desktop version of a URL, you can redirect them to the corresponding




   If you redirect users, please make sure that the content on the
   corresponding mobile/desktop URL matches as closely as possible
   (1). For example, if you run a shopping site and there's an access from
   a mobile phone to a desktop-version URL,



        We occasionally find sites using this kind of redirect in an
   attempt to boost their search rankings, but this practice only results
   in a negative user experience, and so should be avoided at all costs.


   On the other hand, when there's an access to a mobile-version URL
   from a desktop browser or by our web crawler, Googlebot, it's not
   necessary to redirect them to the desktop-version.        For instance,
           doesn't automatically redirect desktop users from their mobile
   site to their desktop site; instead they include a link on the mobile-
   version page to the desktop version. These links are especially helpful
   when a mobile site doesn't provide the full functionality of the desktop
   version-users    can easily navigate to the desktop-version      if they   (1) An example of redirecting a user to the
                                                                              mobile version of the URL when it's accessed
   prefer.
                                                                              from a mobile device. In this case, the content
                                                                              on both URLs needs to be as similar as possible.




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     Redirect




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   Some sites have the same URL for both desktop and mobile content,
   but change their format according to User-agent. In other words, both
   mobile users and desktop users access the same URL (i.e. no
   redirects). but the content/format changes slightly according to the




   However, note that if you fail to configure your site correctly, your site
   could be considered to be               which can lead to your site
   disappearing from our search results. Cloaking refers to an attempt to
   boost search result rankings by serving different content to
   Googlebot than to regular users. This causes problems such as less
   relevant results (pages appear in search results even though their
   content is actually unrelated to what users see/want). so we take
   cloaking very seriously.

   So what does "the page that the user sees" mean if you provide both




                                                                                (2) Example of changing the format of a page based on the User-agent. In this case,
   contents for Googlebot are different from those for Googlebot-Mobile.
                                                                                the desktop user is supposed to see what Googlebot sees and the mobile user is
                                                                                supposed to see what Googlebot-mobile sees.
   One example of how you could be unintentionally             detected as
   cloaking is if your site returns a message like "Please access from
   mobile phones" to desktop browsers, but then returns a full mobile
   version to both crawlers (so Googlebot receives the mobile version).
   In this case, the page which web search users see (e.g. "Please
   access from mobile phones") is different from the page which
   Googlebot crawls (e.g. "Welcome to my site"). Again, we detect
   cloaking because we want to serve users the same relevant content
   that Googlebot or Googlebot-Mobile crawled.




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   While most of the links to your site will be gained gradually, as people
   discover your content through search or other ways and link to it.
   Google understands that you'd like to let others know about the hard




   document, taking these recommendations           to an extreme could
   actually harm the reputation of your site.




   A blog post on your own site letting your visitor base know that you
   added something new is a great way to get the word out about new




   Putting effort into the offline promotion of your company or site can      (1) Promoting your site and having quality links could lead to increasing your site's
   also be rewarding. For example, if you have a business site, make sure     reputation.

   its URL is listed on your business cards, letterhead, posters, etc. You
   could also send out recurring newsletters to clients through the mail
   letting them know about new content on the company's website.




                                                                              (2) By having your business registered for Google Places, you can promote your
                                                                              site through Google Maps and Web searches.




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     RSSfeed




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   Major search engines, including Google, provide free tools for           won't help your site get preferential treatment; however, it can help
                                                                            you identify issues that, if addressed, can help your site perform
                                                                            better in search results. With the service, webmasters can:




   Yahoo! (Yahoo! Site Explorer) and Microsoft (Bing Webmaster Tools)
   also offer free tools for webmasters.




   If you've improved the crawling and indexing of your site using Google   Analytics are a valuable source of insight for this. You can use these
   Webmasters Tools or other services, you're probably curious about        to:
   the traffic coming to your site. Web analytics programs like Google




   For advanced users, the information an analytics package provides,       Lastly, Google offers another tool called Google Website Optimizer
   combined with data from your server log files, can provide even more     that allows you to run experiments to find what on-page changes will
   comprehensive information about how visitors are interacting with        produce the best conversion rates with visitors. This, in combination
   your documents (such as additional keywords that searchers might         with Google Analytics and Google Webmaster Tools (see our video on
   use to find your site).                                                  using the                   is a powerful way to begin improving your
                                                                            site.




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   Have questions or feedback on our guide? Let us know.             Find the source of your visitors, what they're viewing, and benchmark
                                                                     changes.



   Frequent posts by Googlers on how to improve your website.
                                                                     Run experiments on your pages to see what will work and what won't.



   Filled with in-depth documentation on webmaster-related issues.

                                                                     If you don't want to go at it alone, these tips should help you choose
                                                                     an SEO company.

   Optimize how Google interacts with your website.




   Design, content, technical, and quality guidelines from Google.




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